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                 Subject: Re: Triton relay usage
                   From: "Gokul Thirumalai" <gthirumalai@apple.com>
            Received(Date): Thu, 19 Jun 2014 05:05:25 +0000
                      To: "Patrick Gates" <pgates@apple.com>
                      Cc: "Lionel Gentil" <lgentil@apple.com>,"Amol Pattekar"
                            <pattekar@apple.com>,"Artie Nathan III" <anathan@apple.com>
                    Date: Thu, 19 Jun 2014 05:05:25 +0000

           I'm not following why the relay bandwidth utilization would recover.

           iOS6 was the biggest user of relay bandwidth. iOS7 uses a lot less. We broke all iOS6,
           and the only way to get FaceTime working again is to upgrade to iOS7 - which uses very
           little relay since it drops back down as soon as it can.

           iReporter charts

           > On Jun 18, 2014, at 8:24 PM, Amol Pattekar <pattekar@apple.com> wrote:
           >
           >
           > +Artie, who I believe is out until Monday.
           >
           > I would have expected the traffic to recover as some of these customers upgraded to
           newer builds. Not sure why it didn't recover. I do not recall any other change in April that
           would have reduced relay usage.
           >
           > I have also not heard any recent reports of customers complaining about FaceTime
           not working.
           >
           > Thanks,
           > -Amol
           >
           > Sent from my iPhone
           >
           >> On Jun 18, 2014, at 8:01 PM, Patrick Gates <pgates@apple.com> wrote:
           >>
           >>
           >> But it seems like it never recovered. Is FaceTime still broken for a large number of
           people? Like half?
           >>
           >> - Patrick
           >>
           >>
           >>> On Jun 18, 2014, at 19:58, Amol Pattekar <pattekar@apple.com> wrote:>>>
           >>>
           >>> There was a cert that expired and several client builds were enforcing the expiry, so




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           FaceTime broke in all iOS except BrightonMaps, InnsbruckTaos and Sochi. It also broke
           in all major releases of OSX but all the SUs had a fix. This happened on April 15th. This
           substantially reduced relay utilization.
           >>>
           >>> For next year, we need to factor in additional relay usage for phone continuity. We
           will use more relay IPs. Bandwidth usage will likely not increase much.
           >>>
           >>> Thanks,
           >>> -Amol
           >>>
           >>> Sent from my iPhone
           >>>
           >>>> On Jun 18, 2014, at 7:45 PM, Patrick Gates <pgates@apple.com> wrote:
           >>>>
           >>>>
           >>>> Hey guys -
           >>>>
           >>>> I'm looking at the Akamai contract for the next year. I understand we did
           something in April around iOS 6 to reduce relay utilization. Does this ring a bell for any
           of you? Got details?
           >>>>
           >>>> Thanks,
           >>>>
           >>>> Patrick
           >>>>
           >>>>




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